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                            EXHIBIT 2(c)
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                                                                                                       Original Issue:             01/01/2009
                                All Continental U.S. locations (Excluding hourly
    Area of application:                                                                               Effective Date:             01/01/2021
                                employees in Mount Vernon, IL)


                                            Family and Medical Leave (FMLA)


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I. PURPOSE

To define the Family and Medical Leave Policy (“Policy”) of Continental, the “Company”. For purposes of this
Policy, the Company includes the following legal entities: Continental Automotive Systems, Inc., Continental
Intelligent Transportation Systems, LLC, Continental Tire the Americas, LLC, ContiTech North America, Inc.
and its subsidiaries.1

II. SCOPE

This Policy applies to all full-time and part time employees who qualify for leave under the Family and Medical
Leave Act of 1993, as amended (“FMLA”). Contingent workers, independent contractors and interns are not
eligible.

III. EFFECTIVE

This Policy is amended effective as of the date indicated and any and all prior plans, programs, policies or
practices of the Company relating to Family and Medical Leave are hereby superseded.

IV. POLICY

It is the intent of the Company to balance the demands of the workplace with the needs of families in a manner
consistent with the Family and Medical Leave Act of 1993. Accordingly, it is the policy of the Company to allow
eligible employees to take reasonable leave, up to a maximum of twelve (12) weeks per calendar year, for the
conditions that qualify under the Family and Medical Leave Act or up to twenty-six (26) weeks in the event of
Military Caregiver Leave as described below.

These conditions include:
   A.    The birth or adoption of a child, or to bond with newborn or newly placed child;

1
 For the following entities utilizing a combination of corporate policies and location policies, please see Human Relations for the
appropriate policy: O’Sullivan Films, Inc., Bestdrive, LLC, Hoosier Racing Tire, Corp.,



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   B.        The placement of a foster child, or to bond with the newly placed child;
   C.        To care for a spouse, child, or parent with a serious health condition;
   D.        The employee’s own serious health condition;
   E.        Leave shall be granted for a “qualifying exigency” arising out of the fact that a spouse, child, or
             parent of the employee who is either a member in the Armed Forces or serving in the National
             Guard or Reserves, and who is deployed to a foreign country.

             Examples of "Qualifying Exigency" leave are:

                  •    Short Notice Deployment;
                  •    Military Events/Activities;
                  •    Childcare and School Activities;
                  •    Financial and Legal Arrangements;
                  •    Counseling;
                  •    Rest and Recuperation;
                  •    Post-deployment Activities; and
                  •    Additional Activities not addressed in the above identified reasons for a "qualifying
                       exigency", provided that both the Company and employee agree to the timing and duration
                       of such leave.

An eligible employee is entitled to a maximum of twelve (12) weeks of leave in a calendar year for any leave
related to the reasons listed above in letters A – E. FMLA leave to bond with a child after birth, adoption, or
placement must be taken as a continuous block of leave.

Military Caregiver Leave:
An eligible employee, who is the spouse, son, daughter, parent, or next of kin of a member of the United States
of America Armed Forces, including (not limited to) National Guard and Reserves, may be entitled to a
maximum of twenty-six (26) workweeks of leave to care for the service member under the following
circumstances:

        a)      the service member is on the temporary disability retired list; has a serious illness or injury
                incurred in the line of duty on active duty for which he or she is undergoing medical treatment,
                recuperation, or therapy; or is otherwise on outpatient status;
        b)      the service member is a veteran, or one who was a member of the Armed Forces (including a
                member of the National Guard or Reserves) at any time during the 5 years preceding the date
                on which the employee takes FMLA;
        c)      "serious injury or illness" includes: (1) an injury or illness incurred in the line of duty during active
                duty, and (2) an injury or illness that existed before the member's active duty that was
                aggravated by service in the line of duty. For a veteran, the "serious injury or illness" may
                manifest itself before or after the member becomes a veteran, thereby providing coverage for
                service-related injuries such as post traumatic stress disorder;




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       d)       under most circumstances, the leave described in this paragraph is only available during a
                single twelve (12) month period and will not be available in subsequent twelve (12) month
                calendar periods;
       e)       the leave taken pursuant to this paragraph, when combined with leave for any other reason
                stated in this policy (such as to care for a child with a serious health condition), may not exceed
                twenty-six (26) workweeks in a twelve (12) month calendar period.

Intermittent Leave:
Intermittent leave must be medically necessary. Leave for serious health conditions, qualifying exigencies, or
to care for an injured service member may be taken intermittently or on a reduced schedule when that type of
scheduling is necessary. If the employee requests intermittent leave or leave on a reduced schedule, the
Company may require that the employee transfer to a temporary, alternative job for which the employee is
qualified and that better accommodates the intermittent or reduced schedule. The temporary position will have
pay and benefits equivalent to the employee’s regular job.

Employees applying for and granted a family leave of absence are required to meet notification and
documentation requirements, as outlined further in this policy. Failure to meet these requirements may result in
the delay, denial, or revocation of a request for leave under this Policy.

V. PROCEDURE

A. Eligibility
The employee must have recognized service with the Company of at least twelve consecutive months and
must have worked at the Company for at least 1250 hours (or according to appropriate State law, whichever is
more favorable to the employee) during the twelve month period immediately preceding the commencement of
the leave; and work at a location where at least 50 employees are employed at the location or within 75 miles
of the location.

If an employee has a break in service that lasts seven years or less, the employee's service prior to the break
shall be counted when determining if the employee has been employed for at least twelve months.
Employment periods preceding a break in service of more than seven years shall also be counted when the
break is caused by the fulfillment of National Guard or Reserve military service obligations.

If both spouses are employed by the Company, they will be limited to a combined total of twelve (12) weeks
per calendar year where such practice is consistent with the provisions of the Family and Medical Leave Act, or
to a combined twenty-six (26) weeks in the event of Military Caregiver Leave as described above.

B. Employee Notice and Scheduling Requirements

An employee must provide 30 days advance written notice of a request for a leave that is foreseeable. For
cases where such notice is not practicable, notice must be given as soon as practicable, e.g., either the same
day or the next business day of when the employee becomes aware of the need for leave. The employee
must follow the standard notification procedures (i.e., calling into a specified number or contacting a specific


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Company identified individual). The employee must provide sufficient information for the Company to be
aware that the employee needs FMLA-qualifying leave, including the anticipated timing and duration of the
leave. "Calling in sick" without more information is insufficient information for the Company to make a
determination if such leave qualifies for FMLA.

The employee must make a reasonable effort to schedule planned medical treatment(s) so as not to unduly
disrupt the Company's operations when leave is related to the serious health condition of a covered family
member, or for the medical treatment of the employee.

While an employee’s leave request is pending or if the employee is on intermittent leave, the employee must
follow standard attendance or call off notification procedures for their location.


C. Applying for a Leave, Medical Certification and Reporting Requirements
Employees must complete and submit for Human Relations’' approval a written request for a Family, Medical
Leave of Absence. This request form can be obtained from the Human Relations Department.

The Company will require that a family or medical leave related to a serious health condition be supported by a
physician certification issued by the health care provider of the employee or the employee's spouse, son,
daughter, or parent, as appropriate. Once requested, a complete and sufficient copy of this physician
certification shall be provided to the Company within 15 days. The physician certification form can be obtained
from the Human Relations Department. Failure to provide complete and sufficient certification may result in
denial of FMLA leave.

If the Company questions the validity of the certification, it may require, at the Company's expense, that the
employee obtain a second opinion. If the second opinion conflicts with the original opinion, the Company may
require, at its expense, that the employee obtain the opinion of a third health care provider designated or
approved jointly by the Company and the employee. This third opinion will be considered final and binding on
both parties. Additionally, if the medical certification is not completely filled out and/or does not provide
adequate medical factual support for the requested leave, the Company will notify the employee and the
employee will have seven (7) days to provide the necessary information.

The Company may require that the employee obtain subsequent re-certifications on a reasonable basis in
accordance with State and Federal FMLA.

The employee on a family or medical leave must notify his/her supervisor and the HR Department periodically
of his/her status and intention to return to work.

D. Restoration to Position
When an employee returns to work following a family or medical leave, she/he must be either:
   • Restored to the position held by the employee when the leave began, or;




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   •   Restored to an equivalent position with equivalent employment benefits, pay, and other terms and
       conditions of employment. Any disputes as to what constitutes “equivalent” should be reviewed with the
       Human Relations Department.

An employee on an FMLA Leave is subject to being laid-off due to lack of work or restructuring, as are other
employees who are actively working. In this case, the employee will not be entitled to reinstatement to the
employee’s former position or to any other position.

E. Leave Administration
The Company will administer FMLA on a calendar year basis.

Leave under this policy is unpaid. However, a leave entitlement will run concurrent with any other leave rights
for which the employee is eligible including PTO, short term disability, workers’ compensation, etc.

Employee status will remain as active while on approved leave and employee will continue to be eligible for
benefits, seniority rights and service accrual. Eligible employees will be required to exhaust all accrued and
unused PTO before entering unpaid leave status under this policy. However, employees will continue to
accrue PTO while on approved leave.

Fraudulent or intentional misuse of FMLA may result in disciplinary action, including immediate termination.

Unless otherwise provided by applicable state law, outside/dual employment that conflicts with the purpose of
leave taken under this policy must not be engaged in during an approved leave. An employee engaged in
such activity will be in violation of this policy and will be subject to disciplinary action, up to and including
termination.

Any salary increase that would have been granted to an eligible employee during the period of Family Leave
will be processed upon returning to active status.

When a Company designated holiday period occurs during an employee’s FMLA period, the employee will be
paid under either the Company’s Holiday Policy if a Company designated holiday or will be paid his/her regular
base wages during Company designated shutdown periods. The FMLA period will be inclusive of the holiday
period. In other words, a Company designated holiday period will not extend the FMLA period.

F. Recovery of Overpayment
The Company has the right to recover any excess amounts of paid leave. The overpayment will be deducted
from future pay or recovered by a lump sum repayment.

Duplicate payments made by a third party for the same absence will be recovered by the Company in the
amount equal to the payments received from the third party.




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VI. ADMINISTRATION

The Corporate Human Relations Department of the Company is responsible for administering this Policy.


   The “Company” as defined above reserves the right to interpret any questions which may arise concerning
   the eligibility, application or implementation of this Policy. Any questions concerning this Policy should be
   directed to the Sr, Vice-President of Human Relations or his/her designee.

   The Company reserves the right to amend or terminate this Policy at any time.         Any amendments shall be
   executed by the Sr Vice President of Human Relations.

   This Policy does not constitute an employment contract, nor is it intended to make commitments concerning
   their employment with the Company. Employment with the Company is “at will”. The Company and its
   employees are in an employment relationship that can be ended by either party, at any time and for any
   reason that either deems appropriate.




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